EXwW bi ‘Case 2:24-cv-00042-MV ECF No. 1-3, PagelD.10 Filed 03/19/24 Page 1of1

STATE OF MICHIGAN
GRETCHEN WHITMER DEPARTMENT OF CORRECTION; — HEIDI E. WASHINGTON
GOVERNOR LANSING DIRECTOR
STEP II GRIEVANCE DECISION Rec#: 146699
28E

To Prisoner: Sims #: 770573
Current Facility: ECF
Grievance Identifier: URF-23-07-1350-28E
Step II Received: 11/1/2023

Your Step II] appeal has been reviewed and considered by the Grievance Section of the Office of
Legal Affairs in accordance with PD 03.02.130, "Prisoner/Parolee Grievances".

THE REJECTION IS UPHELD.

THIS DECISION CANNOT BE APPEALED WITHIN THE DEPARTMENT. NOV 07 2023

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Richard D. Russell, Manager Grievance
Section, Office of Legal Affairs

CC: Warden, Current Facility: RF
Warden, Grieved Facility: V

~ GRANDVIEW PLAZA = P.O: BOX'30003"* LANSING, MICHIGAN 48909. ="

